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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION


BWP MEDIA USA INC., d/b/a
PACIFIC COAST NEWS and
NATIONAL PHOTO GROUP, LLC,

      Plaintiffs,

v.                                                  No. 3:13-CV-02961-BT

T & S SOFTWARE ASSOCIATES, INC.,

      Defendant.

                           MEMORANDUM ORDER

      Before the Court in this copyright infringement action is Defendant T&S

Software Associate Inc.’s Amended Motion for Attorneys’ Fees Pursuant to Federal

Rule of Civil Procedure 54 (the “Amended Motion”). For the reasons stated, the

Court GRANTS, in part, the Amended Motion (ECF No. 70) and awards

Defendant reasonable attorneys’ fees in the total amount of $84,575.00.

                                   Background

      Plaintiffs brought this lawsuit against Defendant under 17 U.S.C. § 501,

alleging that Defendant, an internet service provider, infringed Plaintiffs’

copyrights of celebrity photographs when third-party users posted the protected

photos to Defendant’s website, www.hairboutique.com. Am. Compl. 4, ¶ 24 (ECF

No. 17); Answer 5, ¶ 39 (ECF No. 21). On March 25, 2016, the Court granted

summary judgment on Plaintiffs’ claims in Defendant’s favor and entered a


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judgment dismissing the case with prejudice. Mem. Op. & Order (ECF No. 50); J.

(ECF No. 52). On April 7, 2016, Defendant timely filed a Motion for Attorneys’

Fees under Federal Rule of Civil Procedure 54 (the “Motion”). Mot. (ECF No. 54).

Shortly thereafter, Plaintiffs filed a notice of appeal. Not. (ECF No. 55). On March

1, 2017, the Court denied the Motion without prejudice and ordered Defendant to

file a motion and an accompanying brief specifically addressing in detail

Plaintiffs’ arguments in opposition to the fee request and identifying the names

and titles of the individuals for whose time Defendant sought fees. See March 1,

2017 Order (ECF No. 65). The Court’s Order did not specify a deadline for filing

an amended motion. See id. The Fifth Circuit affirmed the Court’s summary

judgment decision on March 27, 2017, BWP Media USA, Inc. v. T & S Software

Assocs., Inc., 852 F.3d 436, 444 (5th Cir. 2017), and the Opinion and Judgment

were filed on April 18, 2017. Ord. & J. (ECF Nos. 66 & 67). Plaintiffs then filed a

petition for a writ of certiorari with the Supreme Court of the United States,

which the Supreme Court denied on October 2, 2017. BWP Media USA, Inc. v. T

& S Software Assocs., Inc., 138 S. Ct. 236 (2017). Ten days later, the Court

received a copy of the Supreme Court’s letter notifying the Fifth Circuit that

certiorari had been denied. Ltr. (ECF No. 68).

      On October 20, 2017, Defendant filed its Amended Motion, by which it

seeks attorneys’ fees as the prevailing party under 17 U.S.C. § 505, in the total

amount of $88,614.50. Am. Mot. (ECF No. 70); Reply (ECF No. 73) at 10.

Plaintiffs oppose the Amended Motion on three general grounds: (1) Defendant’s

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fee request is untimely; (2) the Court lacks jurisdiction to consider the request

with respect to any fees incurred in connection with the appeal; and (3) the fees

requested are excessive. The issues have been fully briefed, and the Amended

Motion is ripe for determination.

                          Legal Standards & Analysis

                        Timeliness under Fed. R. Civ. P. 54

      Plaintiffs first argue that Defendant’s Amended Motion is untimely under

Fed. R. Civ. P. 54. Rule 54(d)(2)(A) provides that “a claim for attorney’s fees and

related nontaxable expense must be made by motion unless the substantive law

requires those fees to be proved at trial as an element of damages.” Fed. R. Civ. P.

54(d)(2)(A). Unless a court order dictates otherwise, a Rule 54 motion for

attorneys’ fees is proper when it:

             i)     [is] filed no later than 14 days after the entry of
                    judgment;

             ii)    specif[ies] the judgment and the statute, rule, or
                    other grounds entitling the movant to the award;

             iii)   state[s] the amount sought or provide[s] a fair
                    estimate of it; and

             iv)    disclose[s], if the court so orders, the terms of
                    any agreement about fees for the services for
                    which the claim is made.

Fed. R. Civ. P. 54(d)(2)(B)(i)-(iv) (emphasis added). Defendant timely filed its

original Motion for attorneys’ fees within 14 days of the entry of the Judgment in

this case. The Court denied that Motion without prejudice and granted

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Defendant leave to file an amended motion, although the Court did not set a

deadline for filing the amended motion.

      Defendant’s Amended Motion, filed after the conclusion of all appellate

activity in the case, seeks fees incurred during litigation in this Court, as well as

fees incurred when the case was on appeal. While “the case law on this issue is

sparse,” the apparent weight of authority holds that the Rule 54 timeline does

not apply when a case involves fees related to an appellate judgment. See, e.g.,

JAB Energy Sols. II, LLC v. Servicio Marina Superior, L.L.C., 2016 WL

3746368, at *3, n.3 (E.D. La. July 13, 2016); Howlink Global LLC v. Centris

Info. Servs., LLC, 2015 WL 216773, at *4 (E.D. Tex. Jan. 8, 2015); L.I. Head

Start Child Dev. Servs., Inc. v. Econ. Opportunity Comm'n of Nassau Cty., Inc.,

2013 WL 6388633, at *3 (E.D.N.Y. Dec. 5, 2013); S. Tex. Elec. Coop v. Dresser-

Rand Co., 2010 WL 1855959, at *3-4 (S.D. Tex. May 5, 2010); Dippin’ Dots, Inc.

v. Mosey, 602 F. Supp. 2d 777, 782 (N.D. Tex. 2009). Rule 1 of the Federal Rules

of Civil Procedure provides that the Rules “‘govern the procedure in all civil

actions and proceedings in the United States district courts,’” creating a

presumption that the Federal Rules of Civil Procedure only refer to district court

proceedings, and therefore, that Rule 54’s reference to a “judgment” applies only

to district court judgments. Dippin’ Dots, 602 F. Supp. 2d at 782 (quoting Fed.

R. Civ. P. 1). Thus with respect to appellate judgments, where no statute or rule

prescribes a deadline, “‘a general rule of diligence should govern.’” Id. at 782-83

(quoting JCW Invs., Inc. v. Novelty, Inc., 509 F.3d 339, 342 (7th Cir. 2007)).

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Typically, filing within 30 days is reasonably diligent, particularly “where the

procedural posture is complicated and application of the Federal Rules is

unclear.” Id. at 783; Taylor v. USF-Red Star Exp., Inc., 212 F. App’x 101, 113 (3d

Cir. 2006) (“We conclude the District Court did not err as a matter of law in

granting Taylor’s supplemental motion for attorney’s fees because its timing was

logical, despite the fact that it was filed more than fourteen days after any entry

of judgment.”).

      Defendant filed its Amended Motion within 30 days of the Supreme

Court’s denial of certiorari—the conclusion of appellate activity in the case. The

Court, therefore, finds Defendant exercised reasonable diligence, and the

Amended Motion is timely. Dippin' Dots, 602 F. Supp. 2d at 783 (“In general,

anything within 30 days shows reasonable diligence.”).

                  Jurisdiction to Consider Appellate Attorneys’ Fees

      Plaintiffs also challenge this Court’s jurisdiction to consider Defendant’s

request for appellate attorneys’ fees. Contrary to Plaintiffs’ argument, it is not the

general rule in the Fifth Circuit that a district court lacks jurisdiction to consider

appellate attorneys’ fees if the prevailing party does not first seek those fees on

appeal. Miller v. Raytheon Co., 2013 WL 6838302, at *4 (N.D. Tex. Dec. 27,

2013) ( “[T]he ‘usual practice’ of the Fifth Circuit is to transfer consideration of

attorneys' fees incurred on appeal and fees to be incurred on remand to the

district court.”)(citations omitted). The Fifth Circuit has held that “the issue of

appellate attorney’s fees is a matter for the district court following the resolution

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of an appeal.” Instone Travel Tech Marine & Offshore v. Int'l Shipping Partners,

Inc., 334 F.3d 423, 433 (5th Cir. 2003); Schneider v. Perley-Robertson, 114 F.3d

1182 (5th Cir. 1997) (“Also in keeping with our usual practice, we instruct the

district court to calculate and award additional reasonable attorneys’ fees . . . for

those incurred in connection with this appeal[.]”). In fact, when presented with a

motion for attorneys’ fees on appeal and a motion partially restoring trial

attorneys’ fees affected by that appeal, the Fifth Circuit “conclude[d] that such

matters are better addressed as one by the district court,” and remanded the case

to the district court. Crane v. State of Tex., 766 F.2d 193, 195 (5th Cir. 1985). This

is because district courts, as fact finders, are better equipped to evaluate requests

for attorneys’ fees, even with respect to fees for appellate work before the Court of

Appeals and the Supreme Court. Breaux v. U.S. of Sec'y Dep't Health & Human

Servs., 46 F.3d 65 (5th Cir. 1995). Accordingly, the Court finds it has jurisdiction

to consider Defendant’s request for fees related to the trial and appeal of this

case.

                              Award of Attorneys’ Fees

        Defendant seeks attorney’s fees as the prevailing party under the Copyright

Act. See 17 U.S.C. § 505 (“In any civil action under this title, the court in its

discretion may allow the recovery of full costs by or against any party other than

the United States or an officer thereof. Except as otherwise provided by this title,

the court may also award a reasonable attorney’s fee to the prevailing party as

part of the costs.”). “‘[A]n award of attorney’s fees to the prevailing party in a

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copyright action is the rule rather than the exception and should be awarded

routinely.’”Hunn v. Dan Wilson Homes, Inc., 789 F.3d 573, 588–89 (5th Cir.

2015)(quoting Virgin Records Am., Inc. v. Thompson, 512 F.3d 724, 726 (5th

Cir.2008)). Under 17 U.S.C. § 505, attorneys’ fees are awarded to prevailing

parties at the court’s discretion. Fogerty v. Fantasy, Inc., 510 U.S. 517, 534

(1994). In other words, “‘[t]here is no precise rule or formula for making these

determinations,’ but instead equitable discretion should be exercised.” Id.

(quoting Hensley v. Eckerhart, 461 U.S. 424, 436–437 (1983)).

      The Supreme Court has placed only two restrictions on courts’ discretion:

(1) attorneys’ fees may not be awarded automatically; and (2) prevailing plaintiffs

and defendants must be treated the same. Kirtsaeng v. John Wiley & Sons, Inc.,

136 S. Ct. 1979, 1985 (2016)(citation omitted). The Supreme Court noted some

“nonexclusive factors” that may guide courts’ discretion; these include:

“‘frivolousness, motivation, objective reasonableness (both in the factual and in

the legal components of the case) and the need in particular circumstances to

advance the considerations of compensation and deterrence.’” Fogerty, 510 U.S.

at 535 n. 19. (quoting Lieb v. Topstone Indus., Inc., 788 F.2d 151, 156 (1986)).

The Fifth Circuit recognized that though district courts may consider these

factors, they are not “‘bound to apply verbatim the factors listed [in Fogerty].’”

Hunn, 798 F.3d at 589 (quoting Compaq Computer Corp. v. Ergonome Inc., 387

F.3d 403, 412 (5th Cir. 2004)). District courts, however, are to put substantial

weight on the reasonableness of a losing party’s position when determining

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whether to shift fees. Kirtsaeng, 136 S. Ct. at 1989. This encourages parties with

strong, or reasonable, positions to vindicate their rights, knowing that they will

likely be able to recover fees from the losing, or unreasonable party. Id. at 1986.

Similarly, this deters parties with weak positions from bringing suit as they will

likely have to pay two sets of fees, if their position is unreasonable. Id. at 1986-87.

Nonetheless, “objective reasonableness can be only an important factor in

assessing fee applications—not the controlling one.” Id. at 1988. District courts

should take into account a range of relevant factors, of which the reasonableness

of the losing party’s position is one. Id.

      Here, the Court exercises its discretion to award attorneys’ fees. In arriving

at this decision, the Court took into account the purpose of the Copyright Act to

“‘enrich[ ] the general public through access to creative works,’” which it furthers,

“by striking a balance between encouraging and rewarding authors’ creations

and enabling others to build on that work.” Id. at 1986 (quoting Fogerty, 510 U.S.

at 527). To strike that balance, “the boundaries of copyright law must be

demarcated as clearly as possible.” Fogerty, 510 U.S. at 527. And, raising

meritorious defenses serves the goals of the Copyright Act as much as litigating

meritorious infringement claims, since defenses may increase public exposure to

a work that others may build upon to create new works. Id. In this case, the Court

previously determined Defendant was not liable for direct infringement because

it was not personally involved in the infringing conduct. Mem. Op. & Order

Granting Def.’s Mot. for Summ. J. 4 (ECF No. 50). Defendant also was not liable

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under Plaintiffs’ vicarious copyright infringement theory because Plaintiffs could

point to no evidence that Defendant directly profited from the infringing conduct.

Id. at 5. Litigation of these defenses served to further demarcate the boundaries

of copyright law.

      Additionally, the Court considered that Plaintiffs’ litigation position was

not wholly reasonable insofar as Plaintiffs made no attempt to contact Defendant

regarding the copyrighted photos that were uploaded to Defendant’s website

prior to filing suit. Def. First Am. Mot. for Summ. J. 4. (ECF No. 42). Defendant

first learned of the potential copyright infringement when Plaintiff served it with

the lawsuit. Id. at 3. Awarding attorneys’ fees in this case furthers the

considerations of deterrence. Similarly-situated copyright holders may think

twice about filing a lawsuit without first asking the website host to remove

protected images.

                                 Amount of Award

      Defendant seeks a total award of $88,614.50 in attorneys’ fees, which is

comprised of: $51,309.50 for defending T & S Software Associates, Inc. at the

trial court, $39,426.50 for defending T & S on appeal, $523.50 for defending T &

S at the Supreme Court, and $1,400.00 for completing the briefing on the

Amended Motion. Defendant has subtracted

$4,045.00 for “duplicative or unnecessary work” from those figures to reach




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$88,614.50. Def. Am. Mot. 26, 30. (ECF No. 70). The Court has reviewed the

detailed billing entries provided in Exhibit A-31 and finds the time spent by

attorneys Joseph F. Cleveland, Michael P. Moore, and Jared D. Wilkinson is

reasonable for the tasks described. The Court’s Order denying Defendant’s first

Motion for Attorneys’ Fees required Defendant to specifically identify the names

and titles of the individuals for whose time Defendant sought fees and to address

in detail Plaintiffs’ arguments in opposition to the fee request. Order Den. Mot.

for Att’y Fees (ECF No. 65). In Defendant’s Amended Motion and Exhibit A,

Defendant sufficiently identifies the parties listed by their initials in Exhibit A-3

and addresses Plaintiffs’ concerns. The Court finds the time spent by attorney

Brad Timms, a former law clerk, and two paralegals is duplicative of the other

attorneys’ time and, thus, not reasonable.

         The Court also finds the following hourly rates are reasonable for the

attorneys involved: $400 for Joseph Cleveland; $225 for Michael Moore; and

$175 for Jared Wilkinson. Vanliner Ins. Co. v. DerMargosian, 2014 WL

1632181, at *2 (N.D. Tex. Apr. 24, 2014) (noting that the Court is an expert on

the reasonableness of attorneys’ fees). After applying the $ 4,045.00 billing

judgment discount for duplicative or unnecessary work, the resulting lodestar

award is $ 84,575.00.

         The Fogerty factors guide district courts in determining whether attorneys’

fees should be awarded at all; however, the district court, in its discretion, may

1   Exhibit A-3 (ECF No.71-4), a detailed record of Defendant’s time, totals $83,009.501.
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apply the Johnson factors to determine the appropriate amount of attorneys’ fees.

See Hogan Sys., Inc. v. Cybresource Int'l, Inc., 158 F.3d 319, 325 (5th Cir. 1998),

abrogated by Kirtsaeng, 136 S. Ct. at 1979. Although “[t]here is a ‘strong

presumption that the lodestar award is the reasonable fee[,]’ . . . ‘the court must

consider whether the lodestar amount should be adjusted upward or downward,

depending on the circumstances of the case and after addressing the Johnson

factors.’” DerMargosian, 2014 WL 1632181, at *2 (quoting Heidtman v. Cty. of El

Paso, 171 F.3d 1038, 1044 (5th Cir. 1999); Sec. & Exch. Comm’n v. AmeriFirst

Funding, Inc., 2008 WL 2185193, at *1 (N.D. Tex. May 27, 2008)). Upon

consideration of the Johnson factors,2 the Court does not find that any

adjustment to the lodestar is necessary. See DerMargosian, 2014 WL 1632181, at

*2 n.6 (“[C]ourts ‘need not specifically discuss the Johnson factors where [they

have] applied the Johnson framework.’”) (citing E.E.O.C. v. Agro Distribution,

LLC, 555 F.3d 462, 473 (5th Cir. 2009))).

                                            CONCLUSION
        Accordingly, Defendant’s Amended Motion for Attorneys’ Fees Pursuant to

Federal Rule of Civil Procedure 54 (ECF No. 70) is GRANTED, in part, and

2 The Johnson factors are: (1) the time and labor required for the litigation; (2) the novelty and difficulty of
the questions presented; (3) the skill required to perform the legal services properly; (4) the preclusion of
other employment by the attorney due to acceptance of the case; (5) the customary fee; (6) whether the fee
is fixed or contingent; (7) time limitations imposed by the client or the circumstances; (8) the amount
involved and the results obtained; (9) the experience, reputation and ability of the attorneys; (10) the
“undesirability” of the case; (11) the nature and length of the professional relationship with the client; and
(12) awards in similar cases. Castro v. Precision Demolition, LLC, 2017 WL 6381742, at *2 n.2 (N.D. Tex.
Dec. 14, 2017) (citing Johnson v. Ga. Highway Express, Inc., 488 F.2d 714, 717-19 (5th Cir. 1974)). “The
Supreme Court has barred any use of the sixth factor.” Castro, 2017 WL 6381742, at *2 n.2 (citing
Merrick, 2011 WL 1938188, at *1 n.3; Rutherford v. Harris Cty., 197 F.3d 173, 193 (5th Cir. 1999)). “And
the second factor generally cannot be used as a ground for enhancing the award.” Castro, 2017 WL
6381742, at *2 n.2 (citing Perdue v. Kenny A., 559 U.S. 542, 553 (2010)).

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Defendant is awarded attorneys’ fees in the amount of $84,575.00 pursuant to the

Copyright Act, 17 U.S.C. § 505. Plaintiffs shall make the payment to Defendant’s

attorney of record by October 12, 2018, unless the parties agree to a different

date.


        SO ORDERED.

        September 12, 2018.


                                        _____________________________
                                        _____________________________
                                        REBECCA RUTHERFORD
                                        UNITED STATES MAGISTRATE JUDGE




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